 

 

Case 2:18-p0-03128-G.]F Document 1 Filed 08/27/18 Page 1 of 2

AO 91 (Rev, 01/09) Crimlnal Complamt

UNITED STATES DISTRICT COURT

for the
District of New Mexico

 

United States of America )
v. )
) CaseNo: i%POZ|Q%
Rajandeep erGH §
)
Deféndanr(s)
CRIMINAL COMPLAINT

l, the complainant in this case, state that the following is true to the best of my knowledge and belief. On or about
the date of August 22, 2918 in the county of Dona Ana in the State and District of New Mexigo, the defendant violated

§ U.S.C. §l§Z§(a)§ l )LEWI Mi§dgmeang[), an offense described as follows:

entered and attempted to enter the United States at a time and place other than as designated by lrnmigration Ofticers

This criminal complaint is based on these facts:
On August 22, 2018, a United States Border Patrol Agent encountered the Defendant in Dona Ana County, New Mexico.
When questioned as to his citizenship the Det`endant admitted to being a citizen of lndia without authorization to enter or
remain in the United States. The Defendant knowingly entered the United States illegally on August 22, 2018, by crossing
the U.S.fMexico lnternational Boundary afoot, approximately eight miles east of the Santa Teresa, New Mexico Port of
Entry. This area is not a Port of Entry as designated by the Appropriate Authority of the United States. 'I`hus, the
Defendant is present in the United States without admission by an Immigration OHicer.

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l . .
Carnpl'a¢nant's signature

_Juan Romero Agent
`l

Prinred name and title

Swom to before me and signed in my presence.

  

Date: August 25, 2018

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's signature

J. FOURATT

 

City and state: Las Cruces, N.M.

 

Prinred name and title

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°8/ 25’ 2017 °7'5°<;[§§[@ 2:18-po-03123-GJF Documem 1 Flled 03/27/13 Page 2 of 2
AO 91 (sz. 01»'09) Cl'imll\il Cdmplainl

UNITED STATES DISTRICT CoURT

 

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§ U.S.C. §i§2§[al( l L(EWI Misdgmeangr), an offense described as follows:

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the U.SJMexico lntemational Boundary afoot, approximately eight miles east of the Santa Teresa, New Mexico Port of
Entry. This area is not a Port of Entry as designated by the Appropriate Authority ofthe United States. Thus, the
Defendant is present in the United States without admission by an Immigration Off`lcer.

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Coniplciinamlt signature

Juan Romero _ é_g_ent
Pn'nred name and title

Swom to before me and signed in my presence

Date: Aug\£t 25, 2018 W//

’ 'Judg¢ sgin

 

City and state: Las Cruces, NM.

 

 

Pn'nted name and title

